Case:l?-OOOOS-vad Doc #:22 Filed: 03/12/18 Page 1 of 2

Fill in this information to identi

Deblor1 Margery Lee Wakefie|d

Debtor 2
[Spouse_ rt fi:in q)

 

United States Banicruptcy Court for the: WESTERN DlSTRlCT OF MlCHlGAN

Case number 17-00003 Cheok if this is:

mm°m: - An amended filing

i:l A supplement showing postpetition chapter
13 income as ofthe following date:

 

 

Official Form 106| m
Schedule l: ‘i’our income izns

Be as complete and accurate as possible. if two married people are filing together [Debtor 1 and Debtor 2}. both are equally responsible for
supplying correct information if you are married and not l“iling iointly. and your spouse is living with you. include information about your
spouee. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space ls needed.
attach a separate sheet to this fon'n. On the top of any additional pages, write your name and case number tit known}. Ariswer every question.

Describe Empioyment

1. Fill in your employment

 

informauon_ Debtor 1 Debtor 2 or non-filing spouse
lt you have more than orie job. l Empioyed D Emp!°¥ed
attach a separate page with EmP'°Ym°"t Smus m
information about additional m N°i employed N°t employed
employers .
Occupatior\ customer service

 

include part-time, seasonal or
soil-employed worn Emp|Oirer'S name F'eckham & CMH istate}

Occupation may include student Employer's address
or homemaker, if it applies.

 

How long employed there? 1 lyear +
m Gi\re Detai|s About Monthiy lncome

Estirnate monthly income as of the date you file this iorm. ii you have nothing to report for any |ine. write 50 in the spaoe. include your non-filing
spouse unless you are separated

if you or your non-tiling spouse have more than one employer. combine the information for ali employers for that person on the lines below_ ll you need
more spaoe. attach a separate sheet to this form.

For Debtor 1 For Del:itor 2 or
non-filing spouse

List monthly gross wages. salaryl and commissions (before all payroll

 

 

 

21 deductions)_ if not paid monthly, calculate what the monthly wage would be. 2' 5 2-182'59 5 N"'A
3. Estimate and list monthly overtime pay. 3. +S 0_00 ~5 Ni'A
4. Calculate gross lncome. Add line 2 + line 3. 4. 5 2,182.59 5 N!A

 

 

 

 

 

Oi`l'iciiil Foriti 10()| Si:lli'tlulc l: Yutir lnciniio page 1

D€blnrl Margery Lee Wakefield Case number tirlnowni 1?-00003
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here ______ _ 4. $ 2,182.59 5 Nl`A
5. List all payroll deductions:
5a Tax. l'il'ledicarel and Social Security deductions 5a S 427.27 5 NlA
5b. Maridatory contributions for retirement plans 5h. 8 O.l]t] 5 Nl'A
5c. Voluntary contributions for retirement plans 5c_ 5 0.00 5 NlA
5d. Requlred repayments of retirement fund loans 5d. 8 O.t'lt] 5 NiA
5e. insurance 5e_ 3 60.47 5 NlA
5f. Domestic support obligations 51. $ 0.00 5 NlA
5g. Unlon dues 5e. 5 0.00 5 Nl’A
5h. Other deductions. Speciiy: 5h.+ $ 0.00 + S NiA
6. Add the payroll deductions Add lines 5a+5b+5c+5d+5e+5f+59+5h. 5- 5 48?.?4 5 Ni'A
7. Ca|culate total monthly take-home pay. Subtract line 6 from line 4_ 7. S 1,694_85 5 NlA
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business.
profession. or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income Ba. S 0_00 S NlA
Bb. interest and dividends Bb. S 0.00 5 NiA
Bc. Family support payments that you, a non-filing spouse. or a dependent
regularly receive
include aiimony, spousal supportl child support. maintenance divorce
settlement and property settlement Bc. 5 0,00 S NiA
Bd. Unemp|oyment compensation Bd. S 0.00 5 Ni'A
Be. Sooial Socurity Be. 5 1,126.00 5 Ni'A
Bf. Dtl'ier government assistance that you regularly receive
include cash assistance and the value iii known) of any non-cash assistance
that you receive such as food stamps {benefits under the Supplemental
Nutrition Ass`istance Program] or housing subsidies
Sllef`-iflli Bf- $ 0.00 5 NlA
Sg. Pension or retirement income Bg. 5 0.00 5 NlA
Bh. Other monthly income. Specify: Bh.+ $ 0.00 + 5 Ni'A
9. Add all other income. Add lines SE+Bb+Bc+Bd+Be+Bf+Bg+Bh. 9. 5 1,126_00 5 N.lA
10. Calculate monthly income. Add line 7 + line 9. 10. 5 2,320.85 + 5 NlA = 5 2,820_35
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spousel
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner_ members of your household your dependents your roommates, and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheduie J.
Specii"y.' 11‘ +5 0.'[}0
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Surnmary of Schedules and Statislicel Summary of Ceriain Liabii.-'ries and Related Data, ii lt
applies 5 __M
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this fom\?
l No.
m Yes. Explain: l
Oll'icii.i| Fnrm ll'ltil St'lieiluli: l: Yoiir Iiiconii: page 2

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